                            EXHIBIT A




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                         IN THF., UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

In re:                                                    ) Chapter 11

TINTRI,INC.,'                                             ) Case No.: 18-11625(KJC)

                                   Debtor.                ) Re: Docket No. 81


         ORDER rSTABLISHING PROCEDURES FOR INTERIM COMPENSATION
             AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS

                 Upon the motion (the "Motion")Z of the above-captioned debtor and debtor in

possession (the "Debtor")for the entry of an order (this "Order"), authorizing the Debtor to

establish procedures for interim compensation and reimbursement of expenses for professionals

and official committee members, as more fully set forth in the Motion; and the Court having

found that the Court has jurisdiction to consider the Motion; and due and proper notice of the

Motion having been provided, and it appearing that no other or further notice need be provided;

and the Court having reviewed the Motion and having determined that the legal and factual bases

set forth in the Motion establish good and just cause for the relief granted herein; and upon all

the proceedings had before the Court and after due deliberation and sufficient cause appearing

therefor,




~ The Debtor and the last four digits of its taxpayer identification numbers are (6978): The headquarters and service
address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.
2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


DOCS Dr220331.3 83990/001
                IT IS HEREBY ORDERED THAT:

                 1.      The Motion is granted.

                 2.      Except as may otherwise be provided in an order of this Court authorizing

the retention of specific Professionals, all Professionals in this Chapter 11 case retained by the

Debtor or any statutorily appointed committee may seek interim payment of compensation and

reimbursement of expenses in accordance with the following procedures (collectively, the

"Compensation Procedures"):

                             a.   On or befoxe the 25th day of each calendar month, or as soon as
                                  practicable thereafter (but not earlier than the 15th day of each
                                  calendar month), each Professional may file an application(a
                                  "Monthl~Fee Application") with the Court for interim approval
                                  and allowance of compensation for services rendered and
                                  reimbursement of expenses incurred during any preceding month
                                  or months, and serve a copy of such Monthly Fee Application by
                                  first class mail on each of the following parties (collectively, the
                                  "Notice Parties"):

                                  (i) the Debtor, Tintri, Inc., 303 Ravendale Drive, Mountain View,
                                  CA 94943, Attn.: Robert J. Duffy ,Chief Restructuring Officer
                                  (bduffy@thinkbrg.com);

                                  (ii) counsel to the Debtor, Pachulski Stang Ziehl &Jones LLP,919
                                  N. Market Street, 17th Floor, Wilmington, DE 19801, Attn.: Colin
                                  R. Robinson, Esq.(crobinson@pszjlaw.com) and Pachulski Stang
                                  Ziehl &Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Attn:
                                  John D. Fiero, Esq.(jfiero@pszjlaw.com);

                                  (iii) the Office of the United States Trustee, 844 King Street, Suite
                                  2207 Lockbox 35, Wilmington, DE 19801, Attn.: Timothy J. Fox,
                                  Esq.(timothy.fox@usdoj.gov);

                                  (iv) counsel to the Official Committee of Unsecured Creditors,
                                  Womble Bond Dickinson(US)LLP,222 Delaware Avenue, Suite
                                  1501, Wilmington, DE 19801,(Attn: Matthew P. Ward, Esq. and
                                  Ericka F. Johnson, Esq.), Email: matthew.ward@wbd-us.com,
                                  ericka.johnson@wbd-us.com;

                                  (v)counsel to the Debtor's DIP Lenders,(a)Polsinelli PC; 222
                                  Delaware Avenue, Suite 1101, Wilmington, DE 19801, Attn:
                                  Stephen J. Astringer, Esq.(sastringer@polsinelli.com),(b)
                                  McDermott Will &emery,340 Madison Avenue, New York, NY
                                   10173, Attn: Riley T. Orloff, Esq.(rorloff@mwe.com); and (c)
                                  McDermott Will &Emery,2049 Century Park East, Suite 3800,
 DOGS Dr220331.3 83990/001                             2
                                 Los Angeles, CA 90Q67, Attn: Gary B. Rosenbaum, Esq.,
                                 (gr~senbaum@m~ve.com); and
                                 (vi) counsel to the Prepetition Senior Secured Lender,(a) Ashby &
                                 Geddes, P.A.; SOp Delaware Avenue, 8th Floor, PO Box 1150,
                                 Wilmington, DE 19899-1150, Attn: Gregory A. Taylor, Esq.
                                 (gtaylor@ashbygeddes.com);(b) Riemer &Braunstein LLP, Three
                                 Center Plaza, Suite 600, Boston, MA 02108, Attn: Paul S.
                                 Samson, Esq.)(psamson@riemerlaw.coin); and (c) Riemer &
                                 Braunstein LLP, Times Square Tower, Suite 2506, Seven Times
                                 Square, New York, NY 10036, Attn: Steven E. Fox, Esq.
                                 (sfox~ariemerlaw.com).
                                 Any Professional that fails to file a Monthly Fee Application for a
                                 particular month or months may subsequently submit a
                                 consolidated Monthly Fee Application including any prior month
                                 or months. All Monthly Fee Applications shall comply with the
                                 Bankruptcy Code,the Bankruptcy Rules, applicable Third Circuit
                                 law, and Local Rule 2016-2.

                            b.   Each Notice Party will have 21 days after service of a Monthly Fee
                                 Application to review the request (the "Review Period"). If any
                                 Notice Party wishes to object to a Professional's Monthly Fee
                                 Application, the objecting party shall serve a written notice(a
                                 "Notice of Objection") so that it is received by the end of the
                                 Review Period by the applicable Professional and each of the
                                 Notice Parties. A Notice of Objection shall set forth the precise
                                 nature of the objection and the amount offees and expenses at
                                 issue.

                                 Upon the expiration of the Review Period, if a Notice of Objection
                                 has not been served with respect to a Monthly Fee Application, a
                                 Professional may file a certificate of no objection with the Court
                                 with respect to the unopposed portion of the fees and expenses
                                 requested in their Monthly Fee Application (each, a "CNO").
                                 After a CNO is filed, the Debtor is authorized to pay the
                                 Professional an amount equal to 80% of the fees and 100% of the
                                 expenses requested in the applicable Monthly Fee Application (the
                                 "Maximum MonthlYPa~"). If a Notice of Objection was
                                 timely received and remains unresolved, the Debtor authorized to
                                 pay the Professional an amount(the "Reduced Monthl~Pavment")
                                 equal to the lesser of(i) the Maximum Monthly Payment and (ii)
                                 80% of the fees and 1p0% of the expenses not subject to a Notice
                                 of Objection.

                            d.   If a Notice of Objection is timely served in response to a Monthly
                                 Fee Application, the objecting party and the Professional shall
                                 attempt to resolve the objection on a consensual basis. If and to
                                 the extent that the parties reach an agreement, the Debtor shall
                                 promptly pay 80% of the agreed-upon fees and 100% of the
                                 agreed-upon expenses, to the extent not already included in a
                                 Reduced Monthly Payment(an "Incremental Resolution

DOGS DE:2203313 83990/001
                                 Pa.~ ment"). If, however, the parties are unable to reach a complete
                                 resolution of the objection within ten days after service of the
                                 Notice ~f Objection, the objecting party shall file their objection
                                 (the "Objection") with the Court within three business days after
                                 such ten-day period and serve such Objection on the respective
                                 Professional and each of the Notice Parties. Thereafter, the
                                 Professional may either (i) file with the Court a response to the
                                 Objection, together with a request for payment of the difference, if
                                 any, between(A)the Maximum Monthly Payment and(B)the
                                 Reduced Monthly Payment and any Incremental Resolution
                                 Payment made to the affected Professional (the"Incremental
                                 Amount") or (ii) forego payment of the Incremental Amount until
                                 the next interim or final fee application hearing, at which time the
                                 Court will consider the Objection, if requested by the parties.

                            e.   At three-month intervals or such other intervals convenient to the
                                 Court(the "Interim Fee Period"), each of the Professionals may
                                 file with the Caurt and serve on the Notice Parties a request(an
                                 "Interim Fee A~lication Request")for interim Court approval and
                                 allowance of the payment of compensation and reimbursement of
                                 expenses sought by such Professional in their Monthly Fee
                                 Applications, including any holdbacks, filed during the Interim Fee
                                 Period, pursuant to section 331 of the Bankruptcy Code. The
                                 Interim Fee Application Request must include a brief description
                                 identifying the following:

                                           i.    the Monthly Fee Applications that are the subject of
                                                 the request;

                                          ii.    the amount of fees and expenses requested;

                                          iii.   the amount of fees and expenses paid to date or
                                                 subject to an Objection;

                                          iv.    the deadline for parties to file objections (the
                                                 "Additional Objections") to the Interim Fee
                                                 Application Request; and

                                           v,    any other information requested by the Court or
                                                 required by the Local Rules.

                                 Objections, if any, to the Interim ree Application Requests shall be
                                 filed and served upon the Professional that filed the Interim Fee
                                 Application and the other Notice Parties so as to be received on or
                                 before 4:00 p.m, prevailing Eastern Time on the 21st day (or the
                                 next business day if such day is not a business day)following
                                 service of the applicable Interim Fee Application Request.

                            £    The Debtor will request that the Court schedule a hearing on the
                                 Interim Fee Application Requests at least once every six months.
                                 The Debtor, however, may request that a hearing be held every
                                 three months or at such other intervals as the Court deems
                                 appropriate. If no Objections are pending and no Additional
DOCS DE220331.3 83990/001                             4
                                   Objections are timely filed, the Court may grant an Interim Fee
                                   t4pplication Request without ~ hearing.

                            g.     The first Interim Fee Period will cover the month in which the
                                   Petition Date occurs and the two full months immediately
                                   following such month. Thus, as applicable to this chapter 11 case,
                                   the first Interim Fee Period will cover the Petition Date through
                                   September 30, 2018.

                            h.     The pendency of an Objection to payment of compensation or
                                   reimbursement of expenses will not disqualify a Professional from
                                   the future payment of compensation or reimbursement of expenses
                                   under the Interim Compensation Procedures.

                            i.     Neither (i) the payment of or the failure to pay, in whole or in part,
                                   interim compensation and/ar the reimbursement of or the failure to
                                   reimburse, in whole or in part, expenses under the Interim
                                   Compensation Procedures nor (ii) the filing of or failure to file an
                                   Objection will bind any party in interest or the Court with respect
                                   to the final allowance of applications for payment of compensation
                                   and reimbursement of expenses of Professionals. All fees and
                                   expenses paid tq Professionals under the Interim Compensation
                                   Procedures are subject to disgorgement until final allowance by the
                                   Court.


                3.          Attorney Professionals also intend to make a reasonable effort to comply

with the U.S. Trustee's requests for information and additional disclosures as set forth in the

Guidelinesfor Reviewing ApplicationsfoN C,'ompensatzon and ReimbuNsement ofExpenses Filed

undeN 11 U.S.C. ~ 330 by Attorneys in Larger Chapter 11 Cases Effective as ofNovember 1,

2013(the Revised UST Guidelines"), both in connection with this application and the interim

and final fee applications to be filed by Attorney Professionals in these chapter 11 cases.

                 4.         Each member of any appointed committee is permitted to submit

statements of expenses incurred in the performance of the duties of the committee (excluding

third-party counsel expenses of individual committee members) with supporting vouchers to

committee counsel, which counsel shall collect and submit the committee member's request for

reimbursement in accordance with the Compensation Procedures. Approval of the

Compensation Procedures, however, will not authorize payment of such expenses to the extent
DOCS Dr220331.3 83990/001                               5
that such payment is not authorized under the Bankruptcy Code, the Bankruptcy Rules, Local

Rules, ~r the practice of this Court.

                5.          Approval of the Compensation Procedures does not authorize payment of

such expenses to the extent that such payment is not authorized under the Bankruptcy Code, the

Bankruptcy Rules, Local Rules, or the practice of this Court.

                6.          The Professionals shall be required to serve the Interim Fee Applications

and the Final Fee Applications only on the Notice Parties, and all other parties that have filed a

request for special notice with the Clerk of this Court pursuant to Bankruptcy Rule 2002 shall be

entitled to receive only notice of hearings on the Interim Fee Applications and Final Fee

Applications.

                7.          In each Interim Fee Application and Final Fee Application, all attorneys

(collectively, the "Attorneys") who have been or are hereafter retained pursuant to sections 327,

363, or 1103 ofthe Bankruptcy Code, unless such Attorney is an ordinary course professional;

shall apply for compensation for professional services rendered and reimbursement of expenses

incurred in connection with the Debtor's Chapter 11 case in compliance with sections 330 and

331 of the Bankruptcy Code and applicable provisions of the Bankruptcy Rules, Local Rules,

and any other applicable procedures and orders of the Court.

                 8.         All notices given in accordance with the Compensation Procedures as set

forth herein shall be deemed sufficient and adequate notice and in full compliance with the

applicable provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

                 9.         The Debtor shall include all payments made to Professionals in

accordance with the Compensation Procedures in their monthly operating report(s), identifying

the amount paid to each of the Professionals.


DOGS DG220331.3 83990/001                              6
                 10.         Notice ~f the Motion as provided therein shall be deemed good and

sufficient notice as such motion and the requirements of Bankruptcy Rule 6004(a) and the Lacal

Bankruptcy Rules are satisfied by such notice.

                 11.         The Debtor is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

                 12.         The Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation of this Order,




Dated: August _,2018
       Wilmington, Delaware                              The Honorable Kevin J. Carey
                                                         United States Bankruptcy Court Judge




ROCS DE:220331,3 83990/001                               7
